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FoR THE wEsTERN DISTRICT oF TENNESSEE

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COMMODITY FUTURES TRADING THOWS M YULD
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Plaintiff, ‘
v. No. 04-2181 D/An

FXTRADE FINANCIAL, LLC, et al.,

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Defendants.

 

REPORT AND RECOMMENDATION

 

Before the Court is Plaintiff’ s Motion to Impose Discovery Sanctions Against Defendant
Mary Jo Sibbitt (“Sibbitt”) filed on July 6, 2005. United States District Judge Bernice B. Donald
referred this matter to the Magistrate Judge for a report and recommendation For the reasons set
forth below, the Court recommends that Sibbitt’s Amended Answer be stricken, that default
judgment be entered against Sibbitt, and that Sibbitt be required to pay reasonable expenses to
Plaintiff.

BACKGROUND

Plaintiff Commodity Futures Trading Cornmissiori (“Plaintiff”) filed this action against
multiple Defendants seeking injunctive relief. Plaintiff alleges that Defendants engaged in fraud
and misappropriated customer funds in connection With the solicitation of futures contracts
Beginning in November 2004, the Court handled its first disciplinary matter in this case when
Judge Donald set an Order to Show Cause after the Defendants failed to comply With a Statutory

Restraining Order entered by the Court on March 17, 2004. Judge Donald did not enter sanctions

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with Rule 58 and .'3( (a

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at the Court’s December 3, 2004 hearing against the Defendants. The Court has also had to
handle numerous motions to compel filed by Plaintiff against the Defendants in this case.
0verall, Plaintiff has filed six motions to compel against multiple Defendants in this action, and
Plaintiff has filed numerous motions for sanctions

This specific motion deals only with Defendant Sibbitt. On October 7, 2004, Plaintiff
served its First Set of Interrogaton`es and First Set of Requests for Production of Documents on
Sibbitt. Although Sibbitt made numerous promises to Plaintiff that she would produce complete
responses to the discovery requests, she never provided Plaintiff with complete responses.
Plaintiff filed a motion to compel with the Court on December 7, 2004, and after Sibbitt failed to
respond to the motion to compel, the Court granted the motion on Ianuary 4, 2005. In the instant
Motion, Plaintiff advises the Court that Sibbitt actually turned over discovery requests while the
first motion to compel was pending before the Court; however, Plaintiff argues that these
responses were deficient in several respects. As such, Plaintiff filed a second motion to compel
with the Court.

Sirnilar to the first motion to compel, Sibbitt did not respond to the second motion to
compel. As such, for not responding and for good cause shown, the Court granted the second
motion to compel and ordered Sibbitt to provide complete responses to Plaintiff’s discovery
requests within 15 days of entry of the Order. The Court also warned Sibbitt that the failure to
comply With an Order of the Court could be grounds for the imposition of sanctions.

Because of Sibbitt’s failure to respond to both motions to compel, the Court set a Show
Cause healing. Sibbitt was required to attend this hearing, set for April 14, 2005, and explain

why sanctions should not be imposed against her after she failed to respond to the second motion

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to compel. Sibbitt called the Undersigned’s chambers the day before the hearing was to take
place and explained she had worked things out with Plaintiff and would not be appearing at the
hearing The Undersigned’s staff informed Sibbitt she was not free to decide it was unnecessary
for her to attend the hearing, and the Undersigned’s staff informed Sibbitt her attendance was
required at the following day’s hearing Sibbitt, however, did not appear at the hearing

The Undersigned’s staff called Plaintiff’ s counsel to discuss the conversation that took
place between the Undersigncd’s staff and Sibbitt, and Plaintiff’ s counsel stated that Sibbitt had
promised to produce all remaining documents and complete discovery responses by April 22,
2005 and that Sibbitt had promised to pay $2,500.00 to Plaintiff by April 22, 2005.] Sibbitt
faxed supplemental discovery responses to Plaintiff on Apri122, 2005; however, Sibbitt failed to
produce many of the documents she said she would produce, including tax retums, payroll
records, real estate records, telephone records, and the like. Sibbitt also failed to pay the
$2,500.00 to Plaintiff.

Plaintiff sent Sibbitt a letter on May 19, 2005 regarding the deficient discovery responses,
and Sibbitt responded to the letter in an e-mail on the same day stating that she had retained new
counsel and that she and her counsel would review Plaintiff’s letter and provide additional
documents by May 24, 2005. Neither Sibbitt or her counsel provided responsive documents, and
to date no attorney has filed a Notice of Appearance on Sibbitt’s behalf.

Although a response to the instant motion was due no later than July 25, 2005, Sibbitt did

not file a timely response as required by Local Rule 7.2(a)(2). “Failure to timely respond to any

 

lPlaintiff informed the Court that the $2,500.00 was to cover attorney’s fees and expenses incurred by
Plaintiff in preparing the motion to compel against Sibbitt. The Court was not informed by Sibbitt of her intention to
pay $2,500.00.

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motion, other than one requesting dismissal of a claim or action, may be deemed good grounds
for granting the motion.” Local Rule 7.2(a)(2).
ANALYSIS

The Court has both express power, under Federal Rule of Civil Procedure 37, and
inherent power to impose sanctions for bad faith conduct during discovery. See Fed. R. Civ. P.
37; Chambers v. NASCO, 501 U.S. 32-(1991); Roaa'way Express, Inc. v. Piper, 447 U.S. 752
(1980). Rule 37 provides two frameworks for the imposition of sanctions. First, under
subsections (a) and (b), a party may move for an order to compel discovery If that motion is
granted and a party refuses or fails to comply with the Court’s Order, the Court may issue a wide
range of sanctions under Rule 37(b), including dismissal of the lawsuit. Second, subsection (d)
provides for a less common scenario when sanctions may be imposed even though no prior court
order has been issued. The Court may enter an order for sanctions under Rule 37(d), for
example, if a party fails to attend a deposition or respond to discovery requests. Rule 37(d) also
allows the Court to award attomeys’ fees and expenses

The Court may also impose sanctions based on its inherent authority. A court’s inherent
power “is governed not by rule or statute but by the control necessarily vested in courts to
manage their own affairs so as to achieve the orderly and expeditious disposition of cases.” Lz`nk
v. Wabash R. Co., 370 U.S. 626, 630-31 (1962); see also Roaa’way Expres.s‘, Inc. v. Pi'per, 447
U.S. 752, 765 (1980). This inherent power includes the Court’s “power to control and supervise
its own proceedings.” sz'th v. Northwest Fz`n. Acceptance, Inc., 129 F.3d 1408, 1419 (lOth Cir.

1997).

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The decision to impose sanctions lies within the sound discretion of the trial court. See
Dz'llon v. Nissan Motor Co., 986 F.2d 263, 268 (Sth Cir. 1993). Sanctions are “not merely to
penalize those whose conduct may be deemed to warrant such a sanction, but to deter those who
might be tempted to such conduct in the absence of such a deterrent.” Hockey League v.
Metropolz'tan Hockey Club, Inc., 427 U.S. 639, 643 (1976). “[T]he applicable sanction should be
molded to serve the prophylactic, punitive, and remedial rationales underlying the spoliation
doctrine.” Wesr v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999).

Dismissal of an action is warranted if the wrongdoing party has committed “flagrant bad
faith.” Jackson v. Nissan Motor Corp.-, 121 F.R.D. 311, 319 G\/l.D. Tenn. 1988) (citing Natz`onal
Hockey League v. Metropolz'tan Hockey Club, Inc., 427 U.S. 639 (1976)). In the Sixth Circuit,
“[d]ismissal is the sanction of last resort. It should be imposed only if the court concludes that
the party’s failure to cooperate in discovery was willful, in bad faith, or due to its own fault.”
Bez`l v. Lakewood Engr'neering & Mfg. Co., 15 F.3d 546, 552 (6th Cir. 1994). The word “willful”
is defined in Black ’s Dictionary to mean “[v]oluntary and intentional, but not necessarily
malicious.” Black’s Dictionary 1593 (7th ed. 1999). The Sixth Circuit also asks that reviewing
courts determine if the adversary was prejudiced by a failure to cooperate in discovery, whether a
party was warned that the failure to cooperate could lead to sanctions, and whether less drastic
sanctions were first imposed or considered See Freeland v. Amr'go, 103 F.3d 1271, 1277 (6th
Cir. 1997).

After a thorough review of the pleadings in this action and careful consideration, the
Court recommends that Sibbitt’s Answer should be stricken and default judgment should be

entered against Sibbitt. Although dismissal is a sanction of last resort in this Circuit, the Court

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concludes that Sibbitt has received ample opportunity to comply with Orders of the Court and
cooperate in the discovery process Sibbitt has repeatedly failed to timely to respond to the
Court’s Orders, has not filed responses to Plaintiff’ s motions, has promised to provide
supplemental discovery responses multiple times in this litigation and failed to do so, and has
failed to appear at a Show Cause hearing after being instructed by the Undersigned’s staff that
her appearance was mandatory Furthermore, although she has apparently retained new counsel,
neither she or her counsel has taken any steps to provide discovery responses to Plaintiff or to
notify the Court of her counsel’s appearance in this matter. For these reasons, the Court
concludes that Sibbitt’s conduct is in bad faith, and that she is intentionally failing to cooperate
in the discovery process

After analyzing the remaining three factors discussed in Freeland, the Court concludes
that dismissal of this action against Sibbitt is appropriate By not being able to timely proceed
with this lawsuit, Plaintiff has been prejudiced Plaintiff has spent countless hours attempting to
locate discovery materials and filing motions to compel and motions for sanctions With the
Court. Plaintiff cannot begin its depositions of factual or expert witnesses, and Plaintiff cannot
compose supplemental discovery requests until the Defendants provide initial discovery
responses.

The Court warned Sibbitt that the failure to comply with Orders of the Court could lead to
discovery sanctions Moreover, the Court has imposed lesser sanctions on Sibbitt. On July 6,
2005, the Court ordered Sibbitt to share in paying expenses to Plaintiff’s counsel for preparing
discovery motions, and at this time, Sibbitt has not turned over any hinds to Plaintiff’s counsel.

Sibbitt continues to ignore Court Orders, refuses to respond to discovery requests, and is delaying

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these proceedings Therefore, the Court concludes no other sanction can persuade Sibbitt to
actively participate in this lawsuit.

Because of her repeated failure to cooperate in the discovery process and her bad faith
conduct, the Court recommends that Sibbitt’s Answer be stricken. The Court also recommends
that default judgment should be entered against Sibbitt, and that Sibbitt should be required to pay
reasonable fees to Plaintiff’s counsel for its work in preparing the Second Motion to Compel
against Sibbitt and the instant Motion for Sanctiorls against Sibbitt. Therefore, if J'udge Donald
adopts this report and recommendation in full, Plaintiff" s counsel shall supply an affidavit to the
Court within 15 days of entry of such an Order adopting this report and recommendation in the
affidavit, Plaintiff’s counsel shall list the fees and expenses, including attorney’s fees, incurred in
the preparation of the March 1, 2005 Second Motion to Compel and the instant Motion for
Sanctions.

ANY OB]ECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAlVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: %d(¢aj a?l, ZOD.\/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 142 in
case 2:04-CV-02181 was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

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Honorable Bernice Donald
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